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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIA
                           ORLANDO DIVISION

 JENNIFER SMITH,
              Plaintiff,
 v.                                      CASE NO.: 6:24-cv-00457-PGB-RMN
 FLORIDA AGRICULTURAL &
 MECHANICAL UNIVERSITY
 BOARD OF TRUSTEES,
           Defendant.
 _________________________________/

          NOTICE OF SERVICE OF RESPONSES TO DISCOVERY

       COMES       NOW       the   Defendant,     FLORIDA       AGRICULTUAL          &

 MECHANICAL UNIVERSITY BOARD OF TRUSTEES, hereinafter “University,”

 by and through its undersigned counsel, and hereby gives notice that pursuant to this

 Court’s Order of June 4, 2024, it has served responses upon the plaintiff to

 “Plaintiff’s First Set of Requests for Admission” dated April 23, 2024, “Plaintiff’s

 First Set of Interrogatories to Defendant” dated April 23, 2024, and “Plaintiff’s First

 Requests for Production of Documents” dated April 23, 2024.

                                        /s/ Maria A. Santoro
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                                         Co-Counsel for Defendant FAMU

                           CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this 1st day of July, 2024, I electronically filed
 the foregoing with the Clerk of the Court by using the CM/ECF system which sill
 send a notice of electronic filing to all registered users and counsel in this case.
                                                 /s/ Maria A. Santoro
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                                                 Counsel for the Board of Trustees,
                                                 Florida A&M University



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